             Case 7:22-cv-02747-CS Document 1 Filed 04/03/22 Page 1 of 18




 UNITED STATES DISTRICT COURT
 SOUTHERN DISTRICT OF NEW YORK
 EVELYN DEJESUS AND XAVIER O. PUNTIEL,

                                         Plaintiffs,              Case No.

                         -against-                                COMPLAINT and DEMAND
                                                                  JURY TRIAL
 CITY OF YONKERS; COUNTY OF WESTCHESTER,
 and YONKERS POLICE OFFICERS JOHN DOES #1-
 20, in their official and individual capacities,

                                         Defendants.


        Plaintiffs EVELYN DEJESUS AND XAVIER O. PUNTIEL (“Plaintiffs”), by and through

their attorney, Mohammed Gangat, Esq., as and for their Complaint against defendants CITY OF

YONKERS; COUNTY OF WESTCHESTER, and YONKERS POLICE OFFICERS JOHN

DOES #1-20, in their official and individual capacities (collectively, “Defendants”), allege as

follows:

                                 PRELIMINARY STATEMENT

        1.      The identities/names of the twenty police officers from the City of Yonkers Police

Department named herein as John Doe and responsible for the violations of law detailed below,

are unknown to Plaintiffs. Accordingly, Plaintiff hereby puts the City of Yonkers on notice that

the City is responsible for providing notice to these officers of this lawsuit, and providing Plaintiffs

with sufficient discovery in order to identify their names and amend this complaint accordingly.

        2.      This is a civil rights action in which Plaintiffs seek monetary relief pursuant to 42

U.S.C. §§ 1983, for Defendants’ violations of their rights under the Fourth, Sixth and Fourteenth

Amendments to the United States Constitution, as well as for parallel violations under the New

York State Constitution, Article I, § 12, and for New York common law torts committed against

them.
                                                   1
             Case 7:22-cv-02747-CS Document 1 Filed 04/03/22 Page 2 of 18




        3.      Plaintiffs’ claims arise from the reprehensible misconduct of Yonkers Police

Department officers towards them on April 6, 2019 and its aftermath, in which Defendants, acting

under color of state law, violated Plaintiffs’ rights under the United States and New York State

Constitutions and also committed numerous common law torts under New York law.

        4.      Plaintiff seeks compensatory and punitive damages, an award of attorney's fees and

costs and such other and further relief as the Court deems just and proper.


                                  JURISDICTION AND VENUE


        5.      This Court has subject matter jurisdiction over Plaintiffs’ federal claims pursuant

to 28 U.S.C. §§ 1331 and 1343(a) and (4) and over Plaintiffs’ state law claims pursuant to 28

U.S.C. § 1367(a)

        6.      The federal civil rights claims in this action are brought pursuant to 42 U.S.C.

§§ 1983 and 1988, for violations of the Fourth, Sixth and Fourteenth Amendments to the United

States Constitution.

        7.      An award of attorneys’ fees is authorized pursuant to 42 U.S.C. § 1988 and under

New York common law.

        8.      Venue is proper in the Southern District of New York pursuant to 28 U.S.C. § 1391

(b)(1) and (b)(2) as at least one of the Defendants reside in this district and a substantial part of the

events and/or admissions were committed in this district.

                                  DEMAND FOR JURY TRIAL

        9.      Pursuant to Fed. R. Civ. P. 38, Plaintiffs demand a trial by jury in this action.


                                              PARTIES


        10.      At all times hereinafter mentioned, plaintiff Evelyn Dejesus (“Evelyn”), was an

                                                   2
           Case 7:22-cv-02747-CS Document 1 Filed 04/03/22 Page 3 of 18




adult and resided in Westchester County in the State of New York.

       11.     At all times hereinafter mentioned, plaintiff Xavier O. Puntiel (“Xavier”), was an

adult and resided in Westchester County in the State of New York.

       12.     At all times hereinafter mentioned, Defendant City of Yonkers, was a duly

constituted municipal corporation organized under the laws of the State of New York.

       13.     The Yonkers Police Department was and is an agency or department of Defendant

Yonkers.

       14.     At all times hereinafter mentioned, Defendant County of Westchester (“County”)

was and is a county organized under the laws of the State of New York.

       15.     At all times relevant hereto, Defendants City of Yonkers and County, acting

through the Yonkers Police Department and District Attorney’s office and all the individual

Officer Defendants were acting under color of state law.

       16.     The conduct of all the individual officer Defendants was willful, wanton, and/or

reckless, entitling Plaintiffs to punitive damages, in addition to compensatory damages.

       17.     At all times relevant hereto, John Does Yonkers Police Officer #1-20, all of whose

names are known to the City of Yonkers and the County, were police officers in the City of

Yonkers, and as such were acting within the scope of their employment and under color of state

law and in their capacities as agents, servants and employees of the County acting under the

direction of the County and City of Yonkers.

       18.      Defendants City of Yonkers and County of Westchester are thus responsible for

their actions, and liable for all damages to Plaintiffs with the exception of punitive damages under

the doctrine of respondeat superior for the individual Defendants’ violation of Plaintiffs’ state

constitutional rights and for their common law torts.

       19.     Defendants City of Yonkers and County of Westchester were also responsible for
                                                 3
          Case 7:22-cv-02747-CS Document 1 Filed 04/03/22 Page 4 of 18




the policy, practice, custom, supervision, implementation, and conduct of all police and

prosecutorial matters as well as for the appointment, training, supervision, discipline and retention

and conduct of all police and District Attorney’s office personnel. These Defendants thus have

Monell liability for the individual Officer defendants’ violations of Plaintiff’s rights under the

United States Constitution.

                                   STATEMENT OF FACTS


       20.     Plaintiff Evelyn Dejesus is the mother of Plaintiff Xavier O. Puntiel and at the time

the events giving rise to this lawsuit occurred they were living together in Westchester County.

       21.     On April 6, 2019 both Plaintiffs were at home sleeping along with Xavier’s

girlfriend when approximately 20 Yonkers Police Officers, showed up at their front door at 5am

and knocked on the front door waking up Plaintiffs.

       22.     Xavier came to the door and, after an officer identified himself as a Yonkers police

officer, Xavier asked him whether they had a warrant. The officer answered that they did not.

       23.     The officer then threatened to break the door down and with the assistance of other

officers broke down the door and all 20 officers, Defendant Yonkers Police Officers John Does

#1-20 (“officers”) rushed inside Plaintiffs’ home.

       24.     Once inside the officers also broke down the bathroom and a bedroom door.

       25.     The officers put Plaintiffs into a room and threw them onto the floor before placing

their knees on Plaintiffs’ necks and backs. While Plaintiffs were screaming in pain, the officers

were hitting them with their hands and yelling for them to “Shut the fuck up.”

       26.     Then the officers dragged Plaintiffs, still dressed in their pajamas and barefoot, into

waiting police cars outside.

       27.     They did not arrest Xavier’s girlfriend who is white, while Plaintiffs are Puerto


                                                 4
             Case 7:22-cv-02747-CS Document 1 Filed 04/03/22 Page 5 of 18




Rican.

           28.   At the precinct they were [formally arrested and?] booked at around 6am and went

before a judge at 3pm. They both were immediately released without having to pay any bail.

           29.   The next day Plaintiff Evelyn Dejesus went to St. Joseph’s Hospital where she was

diagnosed and treated for scratches and bruising. She received a pain injection and was given pain

killers. She followed up with her doctor later that week who gave and prescribed more pain killers

for her.

           30.   Plaintiff Xavier Puntiel also went to St. Joseph’s Hospital the next day, where he

was also diagnosed and treated for scratches and bruising. Like his mother, he also was given pain

killers.

           31.   Afterwards, Evelyn lost her job because the Yonkers Police Department sent a letter

to her employer stating that she had been arrested for a felony. They immediately fired her.

           32.   When Evelyn then applied for home attendant jobs they were able to see the record

of her felony arrest and rejected her application.

           33.   Over the next two years Evelyn and Xavier went to court multiple times to contest

the charges against them, which were dismissed after about two years.

           34.   Even with her acquittal Evelyn has not been able to go back the job she lost because

of the arrest by Defendants and has been unemployed.

           35.   In the course of her violent arrest by Defendant officers and ever since, Evelyn has

been suffering from severe emotional distress and anxiety over her future.

           36.   In the course of his violent arrest by Defendant officers, Xavier has also been

suffering from severe emotional distress.

           37.   Despite reasonable opportunity to do so, at no point did any of the individual

Officer defendants intervene in the unreasonable seizure and false arrest of Plaintiffs.
                                                     5
           Case 7:22-cv-02747-CS Document 1 Filed 04/03/22 Page 6 of 18




       38.      At no point did the individual Officer defendants have probable cause to search,

seize, and falsely imprison Plaintiffs.

       39.      At no point did Plaintiffs violate any law, regulation, administrative code, commit

any criminal act, or act in a suspicious and unlawful manner prior to or during the above false

imprisonment.

       40.      At no time prior to, during, or after the above incidents were the individual

Defendants provided with information, or in receipt of a credible or an objectively reasonable

complaint from a third person, that Plaintiffs had violated any law or committed any criminal act.

       41.      Plaintiffs were falsely arrested at the precinct under fabricated charges.

       42.      Evelyn was charged with Assault in the Second Degree and Objection of

Government Administration.

       43.      Xavier was charged with resisting arrest and obstructing government

administration.

       44.      All of these charges were dismissed, and Plaintiffs were never found guilty of

committing any crime related to this illegal search, seizure, arrest and prosecution.

       45.      The accusatory instruments against Plaintiffs were signed by one of the Individual

Defendants. The City of Yonkers Police Department and individual Officer defendants failed to

reasonably investigate these accusations and seek corroborating evidence.

       46.      The accusations were materially false as related to Plaintiffs and Defendants should

have known them to be materially false.

       47.      While Plaintiffs were in the defendants’ custody, one or more of the defendants

forwarded, or caused to be forwarded, the arrest paperwork, and possibly other documentation,

containing these materially and fundamentally false allegations to the district attorney.

       48.      The purpose of transmitting the documentation concerning Plaintiffs’ arrest to the
                                                  6
           Case 7:22-cv-02747-CS Document 1 Filed 04/03/22 Page 7 of 18




District Attorney was to ensure that the district attorney would initiate Plaintiffs’ criminal

prosecution.

        49.     Plaintiffs were arraigned and criminally charged based on a materially deficient

accusatory instrument, as it failed to speak to any investigation or findings of any crime.

        50.     The aforesaid violations of Plaintiffs’ rights are not an isolated incident. Defendants

City of Yonkers and Westchester County are aware from lawsuits, notices of claims, and

complaints, that many members of the Yonkers Police Department are insufficiently trained, and

such improper training has often resulted in a deprivation of civil rights. Despite such notice, the

City of Yonkers and Westchester County have failed to take corrective action. This failure caused

the Defendants to violate Plaintiffs’ rights and cause substantial injury.

        51.     At all times, Defendants City of Yonkers and Count of Westchester, by the Yonkers

Police Department and its agents, servants and/or employees, carelessly, and recklessly trained the

individual Defendants for the position of police officer.

        52.     At all times Defendants City of Yonkers and County of Westchester, by the

Yonkers Police Department and its agents, servants and/or employees caused, permitted and

allowed the individual Officer defendants to act in an illegal, unprofessional, and/or deliberate

manner in carrying out their official duties and/or responsibilities.

        53.     At all times Defendants City of Yonkers and County of Westchester, by the

Yonkers Police Department and its agents, servants and/or employees carelessly, and recklessly

retained in their employ, the individual Officer defendants, who were clearly unfit for their

positions, and acted in an illegal, unprofessional, and/or deliberate manner in carrying out their

official duties and/or responsibilities.

        54.     At all times relevant herein, the individual Officer defendants acted under the color

of state law and within the scope of their employment in furtherance of the interests of the City of
                                                  7
            Case 7:22-cv-02747-CS Document 1 Filed 04/03/22 Page 8 of 18




Yonkers, its Police Department and the County of Westchester without legal justification or

excuse.

          55.   As a direct and proximate result of the Defendants' conduct described above,

including the unreasonable seizure, false arrest, excessive force, detainment, and the malicious

prosecution of Plaintiffs, Plaintiffs suffered physical injuries, pain and suffering, extreme

emotional distress, loss of enjoyment of life, economic loss, humiliation and embarrassment, legal

costs, and more.

                                     FIRST CAUSE OF ACTION
                                     Unlawful Seizure/False Arrest
                      Against the Individual Officer Defendants John Does #1-20
          Pursuant to 42 U.S.C. § 1983 for Defendants Violations of Plaintiffs’ Rights Under the
                 Fourth and Fourteenth Amendments to the United States Constitution

          56.   Plaintiffs repeat and reallege all the foregoing paragraphs as if the same were fully

set forth at length herein.

          57.   The individual Officer defendants willfully and intentionally seized, searched,

detained, and arrested plaintiffs, and caused them to be imprisoned, without probable cause, and

without a reasonable basis to believe such cause existed.

          58.   Plaintiffs had not engaged in any criminal conduct prior to or on the date of their

arrests, nor were they engaged in any conduct that could reasonably be viewed as criminal. Despite

the absence of sufficient legal cause, Plaintiffs were arrested and jailed.

          59.   To the extent that any of the individual defendants did not affirmatively engage in

this conduct, each such defendant was aware of his or her fellow officers’ misconduct, had ample

opportunity to intervene and prevent or limit the constitutional harms being visited on Plaintiffs,

but failed to intervene in any way.

          60.   By so doing, the individual Officer defendants subjected plaintiff to false arrest and

imprisonment, and thereby violated and aided and abetted in the violation of plaintiff’s rights under
                                                  8
           Case 7:22-cv-02747-CS Document 1 Filed 04/03/22 Page 9 of 18




the Fourth Amendment of the United States Constitution.

       61.      The intentional acts and negligence of the individual Defendant Officers,

committed under color of law and under their authority as Yonkers police officers in their

individual and official capacities and within the scope of their employment, violated the Plaintiffs’

rights guaranteed by the Fourth and Fourteenth Amendments of the United States Constitution.

       62.      As a direct and proximate result of the misconduct and abuse of authority detailed

above, the individual Officer Defendants deprived Plaintiffs of their federal, state, and/or other

legal rights; caused Plaintiffs bodily injury, pain, suffering, psychological and/or emotional injury,

and/or otherwise damaged and injured Plaintiffs for which they are entitled to compensatory

damages.

       63.      The unlawful conduct of the individual Officer Defendants was willful, malicious,

oppressive, and/or reckless, and was of such a nature the punitive damages should be imposed

against them.

                                  SECOND CAUSE OF ACTION
                                          Excessive Force
                    Against the Individual Officer Defendants John Does #1-20
         Pursuant to 42 U.S.C. § 1983 for Defendants’ Violations of Plaintiffs’ Rights Under
             the Fourth and Fourteenth Amendments to the United States Constitution

       64.      Plaintiff hereby realleges and incorporates by reference all of the preceding

paragraphs as though they were fully set forth herein.

       65.      The individual Officer Defendants’ use of force against Plaintiffs was unjustified

and objectively unreasonable, taking into consideration the facts and circumstances that confronted

Defendants.

       66.      As a result of these Defendants’ acts and omissions, Defendants deprived Plaintiffs

of their federal, state, and/or other legal rights; caused Plaintiffs bodily injury, pain, suffering,

psychological and/or emotional injury, and/or otherwise damaged and injured Plaintiffs for which
                                                  9
          Case 7:22-cv-02747-CS Document 1 Filed 04/03/22 Page 10 of 18




they are entitled to compensatory damages.

       67.      The unlawful conduct of the individual Officer Defendants was willful, malicious,

oppressive, and/or reckless, and was of such a nature the punitive damages should be imposed

against them.

                                   THIRD CAUSE OF ACTION
                                         Lack of Due Process
                             Against the Individual Officer Defendants
          Pursuant to 42 U.S.C. § 1983 for Defendants’ Denial of Plaintiff’s Rights to a Fair
          Trial Under the Fourth, Sixth and Fourteenth Amendments of the U.S Constitution

       68.      Plaintiff hereby realleges and incorporates by reference all of the preceding

paragraphs as though they were fully set forth herein.

       69.      The individual Officer Defendants willfully and intentionally conducted a deficient

and incomplete investigation, leading to the individual Officer defendants knowingly

memorializing false claims that plaintiff engaged in criminal or unlawful activity, and then

forwarded these materially false claims to the District Attorney in order to justify their arrest of

Plaintiffs, and to justify, bring about and cause Plaintiffs to be deprived of their liberty and to be

criminally prosecuted.

       70.      To the extent that any of the individual Officer Defendants did not affirmatively

engage in this conduct, each such Defendant was aware of his or her fellow officers’ misconduct,

had ample opportunity to intervene and prevent or limit the constitutional harms being visited on

the plaintiff, but failed to intervene in any way.

       71.      By so doing, the individual Officer Defendants subjected the plaintiff to the denial

of a fair trial and violation of his right to due process fabricating evidence and otherwise providing

prosecutors with a materially false and misleading version of events, and thereby violated

plaintiff's rights under the Fourth, Sixth, and Fourteenth Amendments of the United States

Constitution.
                                                     10
           Case 7:22-cv-02747-CS Document 1 Filed 04/03/22 Page 11 of 18




        72.     As a result of these Defendants’ acts and omissions, Defendants; caused Plaintiffs

bodily injury, pain, suffering, psychological and/or emotional injury, and/or otherwise damaged

and injured Plaintiffs for which they are entitled to compensatory damages.

        73.     The unlawful conduct of the individual Officer Defendants was willful, malicious,

oppressive, and/or reckless, and was of such a nature that punitive damages should be imposed

against them.

                                    FOURTH CAUSE OF ACTION
                                    Municipal and County Liability
                   Against Defendants City of Yonkers and County of Westchester
           Pursuant to 42 U.S.C. § 1983 and Monell v. Department of Social Services, 436 U.S.
           658 (1978) for Defendants’ Violations of Plaintiff’s Rights Under the Fourth, Sixth,
                     and Fourteenth Amendments to the United States Constitution

        74.     Plaintiff repeats and realleges all the foregoing paragraphs as if the same were fully

set forth at length herein.

        75.     The aforesaid constitutional violations are not an isolated incident and were

proximately caused by one or more policies, practices and/or customs of Defendant City of

Yonkers, its Police Department, and Defendant County and Westchester, including the practice of

failing to conduct a reasonable investigation when submitting accusatory instruments on felony

charges.

        76.     Upon information and belief, it was the policy, practice and/or custom of the

Defendant City of Yonkers, its Police Department, and Defendant County of Westchester to

inadequately and improperly investigate complaints of unlawful search and seizure, use of

excessive force, false arrest, assault and battery, among other misconduct by individual Yonkers

Police Department.

        77.     Upon information and belief, it was the policy, practice and/or custom of the

Defendant City of Yonkers, its Police Department, and Defendant County of Westchester to fail

                                                 11
          Case 7:22-cv-02747-CS Document 1 Filed 04/03/22 Page 12 of 18




to train, supervise and/or discipline police officers so as to prevent them from committing acts of

misconduct and abusing their authority.

       78.     Upon information and belief, it was the policy, practice, and/or custom of the

Defendant City of Yonkers, its Police Department, and Defendant County of Westchester to

unlawfully search and seize innocent persons.

       79.     Upon information and belief, it was the policy, practice, and/or custom of the

Defendant City of Yonkers, its Police Department, and Defendant County of Westchester to use

excessive force in effectuating arrests.

       80.     Upon information and belief, it was the policy, practice, and/or custom of the

Defendant City of Yonkers, its Police Department, and Defendant County of Westchester to falsely

arrest and unreasonably detain innocent members of the public to meet “productivity goals” or

“arrest quotas”.

       81.     Upon information and belief, it was the policy, practice, and/or custom of the

Defendant City of Yonkers, its Police Department, and Defendant County of Westchester to

manufacture false evidence against innocent persons to justify the abuse of authority in unlawfully

stopping and falsely arresting such individuals.

       82.     Upon information and belief, it was the policy, practice, and/or custom of the

Defendants to maliciously prosecute innocent persons.

       83.     The Defendants City of Yonkers and County of Westchester were aware of the

aforesaid unconstitutional policies, practices and customs through the repeated occurrences of

similar wrongful conduct documented in civil rights actions filed in the Eastern District of New

York as well as in New York State courts. As a result, Defendants City of Yonkers and County

and permitted, tolerated, and were deliberately indifferent to acts of misconduct.

       84.     As a result, Defendants City of Yonkers and County of Westchester, acting under
                                                   12
          Case 7:22-cv-02747-CS Document 1 Filed 04/03/22 Page 13 of 18




color of state law, violated Plaintiff’s rights under the Fourth and Fourteenth Amendments to the

United States Constitution.

        85.     As a direct and proximate result thereof, Plaintiffs have been injured and are

entitled to compensatory damages from these Defendants.

                               FIFTH CAUSE OF ACTION
                                   Malicious Prosecution
                                   Against All Defendants
         Pursuant to 42 U.S.C. § 1983 for Defendants’ Denial of Plaintiff’s Rights Under the
               Fourth and Fourteenth Amendments of the United States Constitution

        86.     Plaintiff repeats and realleges all the foregoing paragraphs as if the same were fully

set forth at length herein.

        87.     Defendants’ unlawful actions, committed under color of state law, were done

willfully, knowingly, with malice and with intent to deprive the Plaintiff of his constitutional rights

guaranteed by the Fourth and Fourteenth Amendments.

        88.     The Defendants maliciously commenced criminal proceedings against the Plaintiff

knowing that there was not corresponding probable cause and knowing that the underlying facts

did not justify any charges..

        89.     After two years of Court proceedings, Plaintiffs obtained dismissal of all charges

against them.

        90.     As a direct and proximate result of the Defendants’ unlawful conduct, the Plaintiff

are entitled to compensatory and punitive damage, as well as attorneys’ fees and costs pursuant to

42 U.S.C. § 1088.

                                     SIXTH CAUSE OF ACTION
                              Intentional Infliction of Emotional Distress
                                        Against All Defendants

        91.     Plaintiffs repeat and reallege all the foregoing paragraphs as if the same were fully

set forth at length herein.
                                                  13
          Case 7:22-cv-02747-CS Document 1 Filed 04/03/22 Page 14 of 18




        92.      The individual Officer defendants acted outrageously in violating Plaintiffs’ rights

that caused them severe and extreme emotional distress.

        93.      As a consequence of Defendants’ illegal actions Plaintiffs were deprived of their

freedom, subjected to serious harm, fear, personal humiliation, economic loss, and continue to

suffer from mental and emotional distress.

        94.      At all relevant times, all the individual Officer Defendants were acting under color

of state law.

        95.      The conduct of all the individual officer Defendants was willful, wanton, and/or

reckless, entitling Plaintiffs to punitive damages, in addition to compensatory damages.

        96.      At all relevant times, the individual officer Defendants were employees of the City

of Yonkers and County of Westchester, and were acting within the scope of their employment.

Defendants City of Yonkers and County of Westchester are thus responsible for their actions, and

liable for all damages to Plaintiffs with the exception of punitive damages under the doctrine of

respondeat superior.

                                   SEVENTH CAUSE OF ACTION
                                    Unlawful Seizure and Detention
                                       Against All Defendants
              For Defendants’ Violations of Article I, §12 of the New York State Constitution

        97.      Plaintiffs repeat and reallege all the foregoing paragraphs as if the same were fully

set forth at length herein.

        98.      The individual Officer Defendants seized and/or then unlawfully detained

Plaintiffs, New York residents, without the reasonable articulable suspicion of criminality required

by Section 12 of Article I of the New York State Constitution.

        99.      As a result of these abuses, Plaintiffs, all New York residents, were deprived of

their liberty, property, and constitutional rights under the New York State Constitution.

                                                  14
             Case 7:22-cv-02747-CS Document 1 Filed 04/03/22 Page 15 of 18




        100.     At all relevant times, all the individual Officer Defendants were acting under color

of state law.

        101.     The conduct of all the individual officer Defendants was willful, wanton, and/or

reckless, entitling Plaintiffs to punitive damages, in addition to compensatory damages.

        102.     At all relevant times, the individual officer Defendants were employees of the City

of Yonkers and County of Westchester, and were acting within the scope of their employment.

Defendants City of Yonkers and County of Westchester are thus responsible for their actions, and

liable for all damages to Plaintiffs with the exception of punitive damages under the doctrine of

respondeat superior.

                                    EIGHTH CAUSE OF ACTION
                                            Excessive Force
                                       Against all the Defendants
              For Defendants’ Violations of Article I, §12 of the New York State Constitution

        103.     Plaintiffs repeat and reallege all the foregoing paragraphs as if the same were fully

set forth at length herein.

        104.     Individual Officer Defendants used unjustified and excessive force against

Plaintiffs proximately causing them physical and psychological injury, in violation of Section 12

of Article I of the New York State Constitution.

        105.     At all relevant times, the individual Officer Defendants were acting under color of

state law.

        106.     The conduct of the individual Officer Defendants was willful, wanton, and reckless

entitling Plaintiffs to punitive damages against these Defendants in addition to compensatory

damages.

        107.     In using excessive force against Plaintiffs, all residents of New York, the individual

Officer Defendants were acting within the scope of their employment. Defendants City of Yonkers

                                                  15
             Case 7:22-cv-02747-CS Document 1 Filed 04/03/22 Page 16 of 18




and County of Westchester, as the employers of these Yonkers police officers, are thus responsible

for the wrongdoing of these police officers under the doctrine of respondeat superior, and are thus

liable for all damages with the exception of punitive damages.

                                      NINTH CAUSE OF ACTION
                                     New York Common Law Battery
                                       Against all the Defendants

        108.     Plaintiffs repeat and reallege all the foregoing paragraphs as if the same were fully

set forth at length herein.

        109.     The individual Officer Defendants in the course of their misconduct described

above placed Plaintiffs in fear of imminent harmful or offensive contact proximately causing them

physical and psychological injury. Such contact would have been without provocation or privilege.

        110.     At all relevant times, the individual Officer Defendants were acting under color of

state law.

        111.     The conduct of the individual Officer Defendants was willful, wanton, and reckless

entitling Plaintiffs to punitive damages against these Defendants in addition to compensatory

damages.

        112.     In assaulting Plaintiffs, all residents of New York, the individual Officer

Defendants were acting within the scope of their employment. Defendants City of Yonkers and

County of Westchester, as the employers of these Yonkers police officers, are thus responsible for

the wrongdoing of these Yonkers police officers under the doctrine of respondeat superior, and

are liable for all damages with the exception of punitive damages.

                                      TENTH CAUSE OF ACTION
                                     New York Common Law Battery
                                       Against all the Defendants

        113.     Plaintiffs repeat and reallege all the foregoing paragraphs as if the same were fully

set forth at length herein.
                                                  16
             Case 7:22-cv-02747-CS Document 1 Filed 04/03/22 Page 17 of 18




        114.     The individual Officer Defendants in the course of their misconduct described

above made harmful or offensive contact with Plaintiffs proximately causing them physical and

psychological injury. Such contact would have been without provocation or privilege.

        115.     At all relevant times, the individual Officer Defendants were acting under color of

state law.

        116.     The conduct of the individual Officer Defendants was willful, wanton, and reckless

entitling Plaintiffs to punitive damages against these Defendants in addition to compensatory

damages.

        117.     In committing battery against Plaintiffs, all residents of New York, the individual

Officer Defendants were acting within the scope of their employment. Defendants City of Yonkers

and County of Westchester, as the employers of these Yonkers police officers, are thus responsible

for the wrongdoing of these Yonkers police officers under the doctrine of respondeat superior,

and are liable for all damages with the exception of punitive damages.

                                 ELEVENTH CAUSE OF ACTION
                       New York Common Law False Arrest/False Imprisonment
                                    Against all the Defendants

        118.     Plaintiffs repeat and reallege all the foregoing paragraphs as if the same were fully

set forth at length herein.

        119.     In effectuating the arrest and ensuing detention of Plaintiffs on April 6, 2019, all

the individual Officer Defendants intentionally arrested and/or confined Plaintiffs without

reasonable or probable cause, illegally and without a written warrant, and without any right or

authority to do so. Plaintiffs were conscious of the confinement and it was without their consent.

        120.     The conduct of all the individual Officer Defendants in so doing was willful,

wanton, and/or reckless entitling all Plaintiffs to punitive damages against these Defendants, in

addition to compensatory damages.
                                                  17
         Case 7:22-cv-02747-CS Document 1 Filed 04/03/22 Page 18 of 18




       121.    At all relevant times, the individual Officer Defendants in their misconduct towards

Plaintiffs, residents of New York, were acting within the scope of their employment. Defendants

City of Yonkers and County of Westchester, as the employers of these Yonkers police officers,

are thus responsible for the wrongdoing of the police officers under the doctrine of respondeat

superior, and are liable for all damages with the exception of punitive damages.

WHEREFORE, Plaintiffs respectfully request judgment against Defendants as follows:

       (A)     compensatory damages in an amount to be determined at trial;

       (B)     punitive damages in an amount to be determined at trial;

       (C)     an order awarding Plaintiffs reasonable attorneys' fees and costs under 42. U.S.C.

§ 1988 and New York common law; and

       (D)     such other further relief as the Court may deem just and proper.


Dated: New York, New York
       April 2, 2022


                                          LAW OFFICE OF MOHAMMED GANGAt

                                                     By:


                                                            ______________________
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                                                 Attorneys for Plaintiffs Evelyn Dejesus
                                                 and Xavier O. Puntiel




                                                18
